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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION


JUSTIN FERGUSON,                             )
                                             )
                       Plaintiff,            )
                                             )       CIVIL ACTION
vs.                                          )
                                             )       FILE No. 4:19-CV-00658
LEISERV, LLC and BW BOWLING                  )
PROPERTIES LP,                               )
                                             )
                       Defendants.           )


                              NOTICE OF SETTLEMENT

        Plaintiff, JUSTIN FERGUSON (“Plaintiff”), by and through the undersigned

counsel, hereby notifies this Court that Plaintiff has reached settlement of all issues

pertaining to his case against Defendants, LEISERV, LLC and BW BOWLING

PROPERTIES LP.

        Plaintiff and Defendants, LEISERV, LLC and BW BOWLING PROPERTIES

LP, are presently preparing a formal settlement agreement for signature and intend to file

a Joint Stipulation of Dismissal of Defendants with Prejudice once the agreement is

finalized. Plaintiff and Defendants request forty-five (45) days within which to file its

dismissal documents.




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                                     SCHAPIRO LAW GROUP, P.L
 7301-A W. Palmetto Park Rd., #100A, Boca Raton, FL 33433 • Tel (561) 807-7388 • Fax (810) 885-5279
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       Respectfully submitted this 22nd day of November, 2019.

                                             //s/ Douglas S. Schapiro
                                             Douglas S. Schapiro, Esq.
                                             Northern District of Texas ID No. 54538FL
                                             The Schapiro Law Group, P.L.
                                             7301-A W. Palmetto Park Rd., #100A
                                             Boca Raton, FL 33433
                                             Tel: (561) 807-7388
                                             Email: schapiro@schapirolawgroup.com


                                CERTIFICATE OF SERVICE

       WE HEREBY CERTIFY that a true and correct copy of the foregoing was filed

electronically using the CM/ECF system on this 22nd day of November, 2019.



                                             /s/Douglas S. Schapiro
                                             Douglas S. Schapiro, Esq.
                                             Northern District of Texas ID No. 54538FL




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